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                                                                       Malhar S. Pagay (CA Bar No. 189289)
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                                                                       Counsel to John Hyde, Plan Agent
                                                                   6

                                                                   7

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                            LOS ANGELES DIVISION

                                                                  11   In re:                                             Case No.: 2:10-12122-BR
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                      Chapter 11
                                                                       PERSIK PRODUCTIONS, INC., fka BOB
                                        LOS ANGELES, CALIFORNIA




                                                                  13   YARI PRODUCTIONS,                                  NOTICE OF (1) FINAL DISTRIBUTIONS TO
                                           ATTORNEYS AT LAW




                                                                                                                          HOLDERS OF ALLOWED CLASS 5
                                                                  14                                                      CLAIMS; AND (2) TERMINATION OF
                                                                                                                          PLAN AGENT
                                                                  15

                                                                  16                                Reorganized Debtor.   [No hearing required]

                                                                  17

                                                                  18            PLEASE TAKE NOTICE that John Hyde, in his capacity as the Plan Agent (“Plan Agent”)

                                                                  19   under the terms of the Debtor’s Second Amended Chapter 11 Plan of Reorganization, confirmed on

                                                                  20   May 26, 2011 [Docket No. 221] (the “Plan”) in the case of Persik Productions, Inc., formerly known

                                                                  21   as Bob Yari Productions, the reorganized debtor in the above-captioned case (“Reorganized

                                                                  22   Debtor”), has completed final Distributions of the respective Pro Rata shares of Plan Fund Proceeds

                                                                  23   to the Holders of Allowed Class 5 Claims.

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                                                                   1            PLEASE TAKE FURTHER NOTICE that the Plan Agent has completed his

                                                                   2   administration of all properties and assets in the Plan Fund and that the Plan Agent is discharged

                                                                   3   from all responsibilities under the Plan pursuant to section 6.28 of the Plan.

                                                                   4

                                                                   5   Dated:     October 3, 2014                    PACHULSKI STANG ZIEHL & JONES LLP

                                                                   6                                                 By      /s/ Malhar S. Pagay

                                                                   7                                                         Malhar S. Pagay
                                                                                                                             Counsel to John Hyde, Plan Agent
                                                                   8

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                       10100 Santa Monica Boulevard, 13th Floor
                                               Los Angeles, CA 90067

A true and correct copy of the foregoing document NOTICE OF (1) FINAL DISTRIBUTIONS TO HOLDERS
OF ALLOWED CLASS 5 CLAIMS; AND (2) TERMINATION OF PLAN AGENT will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated
below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On October 3, 2014, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email
address(es) indicated below:


                                                                           Service information continued on attached page

2. SERVED BY U.S. MAIL(indicate method for each person or entity served):
On October 3, 2014, I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail,
first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                           Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (indicate
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 3, 2014, I served
the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on the judge will be completed no later than 24 hours after the document is filed.

By Overnight Mail
The Honorable Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Courtroom 1668
Los Angeles, CA 90012
                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 October 3, 2014             Sophia L. Lee                                    /s/Sophia L. Lee
 Date                            Type Name                                    Signature




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I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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